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NEW YOU BARIATRIC GROUP, LLC,
LONG ISLAND MINIMALLY INVASIVE SURGERY, P.C.
d/b/a NEW YORK BARIATRIC GROUP,
NYBG MANAGEMENT AGGREGATOR, LLC,
NYBG HOLDINGS, LLC, Dr. SHAWN GARBER M.D. and
VIJAY BACHANI,




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NEW YOU BARIATRIC GROUP, LLC,
LONG ISLAND MINIMALLY INVASIVE SURGERY, P.C.
d/b/a NEW YORK BARIATRIC GROUP,
NYBG MANAGEMENT AGGREGATOR, LLC,
NYBG HOLDINGS, LLC, Dr. SHAWN GARBER M.D. and
VIJAY BACHANI,




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NEW YOU BARIATRIC GROUP, LLC,
LONG ISLAND MINIMALLY INVASIVE SURGERY, P.C.
d/b/a NEW YORK BARIATRIC GROUP,
NYBG MANAGEMENT AGGREGATOR, LLC,
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VIJAY BACHANI,




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NEW YOU BARIATRIC GROUP, LLC,
LONG ISLAND MINIMALLY INVASIVE SURGERY, P.C.
d/b/a NEW YORK BARIATRIC GROUP,
NYBG MANAGEMENT AGGREGATOR, LLC,
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VIJAY BACHANI,




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NEW YOU BARIATRIC GROUP, LLC,
LONG ISLAND MINIMALLY INVASIVE SURGERY, P.C.
d/b/a NEW YORK BARIATRIC GROUP,
NYBG MANAGEMENT AGGREGATOR, LLC,
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VIJAY BACHANI,




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VIJAY BACHANI,




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